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 1 ROBERT S. BREWER, Jr.
   United States Attorney
 2 ANDREW P. YOUNG
   Illinois Bar No.: 6284303
 3 BENJAMIN J. KATZ
   California Bar No.: 272219
 4 Assistant U.S. Attorneys
   Office of the U.S. Attorney
 5 880 Front Street, Room 6293
   San Diego, CA 92101
 6 Tel: (619) 546-7981
   Email: Andrew.p.young2@usdoj.gov
 7
 8 Attorneys for the United States
 9                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA                  Case No.: 18-CR-1404-WQH
11
                  Plaintiff,                   Date:         May 28, 2019
12
            v.                                 Time:         9:00 a.m.
13
     VINCENT RAMOS                             MOTION TO SHORTEN TIME TO
14                                             FILE SENTENCING PAPERS
                  Defendant.
15
16
17 TO THE CLERK OF COURT AND ALL PARTIES OF RECORD
18         The Government respectfully requests an order shortening time to file its Sentencing
19 Summary Chart, Sentencing Memorandum and other sentencing papers.              Beginning on
20 Friday, May 17 through yesterday, May 21, 2019, unforeseen family obligations hampered
21 the undersigned’s ability to finalize and file its sentencing papers on May 21, 2019, the due
22 day. The undersigned apologizes for any inconvenience.
23
24         DATED: May 22, 2019
25                                                      Respectfully submitted,
26
                                                        ROBERT S. BREWER, Jr.
27                                                      United States Attorney
28                                                      s/ Andrew P. Young
                                                        Andrew P. Young
